Case 04-44443   Doc 2   Filed 04/06/04     Entered 04/06/04 16:26:14   Main Document
                                         Pg 1 of 33
Case 04-44443   Doc 2   Filed 04/06/04     Entered 04/06/04 16:26:14   Main Document
                                         Pg 2 of 33
Case 04-44443   Doc 2   Filed 04/06/04     Entered 04/06/04 16:26:14   Main Document
                                         Pg 3 of 33
Case 04-44443   Doc 2   Filed 04/06/04     Entered 04/06/04 16:26:14   Main Document
                                         Pg 4 of 33
Case 04-44443   Doc 2   Filed 04/06/04     Entered 04/06/04 16:26:14   Main Document
                                         Pg 5 of 33
Case 04-44443   Doc 2   Filed 04/06/04     Entered 04/06/04 16:26:14   Main Document
                                         Pg 6 of 33
Case 04-44443   Doc 2   Filed 04/06/04     Entered 04/06/04 16:26:14   Main Document
                                         Pg 7 of 33
Case 04-44443   Doc 2   Filed 04/06/04     Entered 04/06/04 16:26:14   Main Document
                                         Pg 8 of 33
Case 04-44443   Doc 2   Filed 04/06/04     Entered 04/06/04 16:26:14   Main Document
                                         Pg 9 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 10 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 11 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 12 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 13 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 14 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 15 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 16 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 17 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 18 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 19 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 20 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 21 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 22 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 23 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 24 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 25 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 26 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 27 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 28 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 29 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 30 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 31 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 32 of 33
Case 04-44443   Doc 2   Filed 04/06/04 Entered 04/06/04 16:26:14   Main Document
                                      Pg 33 of 33
